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                                Exhibit   "A"


                 E~hibit    "A" contains the following:



                          1.]   State's (Information]

                          2.J   Plea of Guilty in 95-CF-8

                          3.]   Judgment and Sentence in 95-CF-8

                          4.] Official Statement of state's Attorney
                              and Judge.


                      I
      As an initjial matter, these State Court documents illustrate
                      I


 without any doJbt that Mr. TAYLOR was sentenced to: Simple Pos-
                  I



 session of candabis.
                  I




                  I
                 I
                 I
                 I
                 I
                 I
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                                                 I
 PEOPLE OF THE STATE
 OF ILLINOI S , I
            Plaintiff,

             vs.                                I                                      No.     95-CF-   CS
                                                                                               Class 3
 BRAD TAYLOR, #~-20387,                                                                        Extended Term
           Defeidant.
                                                                               INFOP.M~TION


             The state j s Attorney of said county charges:                                                  That on December
 30, 1994, in J+hnson County, BRAD TAYLOR, #B-20387, committed the
 offense of UNL~WFUL POSSESSION OF CONTRABAND IN A PENAL INSTITUTION
 in that the s~id defendant knowingly and unlawfully had in his
 possession ca9nabis,                                                   other than    as   authorized in the        Cannabis
 Control Act,                              ~t               a time when the Defendant was confined at the
 Shawnee correctional Center, a penal institution, in violation of
 Chapter 720, A9t 5, section 31A-1. 1 (b), Illinois Compiled Statutes,
 formerly, Chapter 38, section 31A-l.l( ) Illinois Revised Statutes.




                                                                                                                AttOrney


 STATE OF ILLIN1,OIS)                                                        The undersigned, on oath,       states on
                    )ss                                                      information and belief, that the facts set
 COUNTY OF JOHNiSON)                                                         forth in the foregoing information are
                                                                             true in substance and matter of fact.
                                           I
                                           I

                                                                                       ~day of ~ =~
                                           I



 Si~~d         and swd,rn to before me this
 19~.                                      I


     'I(N»)))NmN))N,I?l.)))J.;))l.,wm)i)m)m))~1
     ::        "OFFICIAL SEAL"                                          i:
     .:     Melanie Arin Calhoon                      ~:
     :: Notary Public, IState of lllinois ::
     :. My C(}"'''''' i ,~" , . Fxp;'!''' 1/1.)<::/97 i;0 '
         ~         HHL\, ''I..,.,.t,. .1       J . , ),f .... i.}   -    I


     :   ~t(t«<tt««((NN({({it·«'(('<'li.({.w((tN(Nd.'
                                                                                              Exhibit    "Aif
------------- -----------------------------1

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                                              I
                              IN THE d:IR(.vlT COURT OF THE FIRST JUDII....J.AL CIRCUIT
                                              I

                                              I
                                              I         JOHNSON COUNTY, ILLINOIS
                                              I
        PEOPLE OF THE STATE IOF ILLINOIS,
        ~S'?I/:J) ~ tFl3-Z0ig7
                                                              PLEA OF GUILTY
              I unde'rstand thati I am charged with corrunitting criminal offense. The nature of the
        offense(s) and the possible penalties have been explained to me and I have received a copy
        of the charge (s) .  I h~ve been advised of my right to remain silent and my right to an
        attorney.   I understan~ that If I cannot afford an attorney one would be appointed to
        represent me. I understand that I have the right to confront the witnesses against me and
        the right to subpoena Jitnesses. I understand that I have a right to a prompt and public
        jury trial.             .
                                          I


                         I am repres~nted
                                    I
                                          by an attorney and have had sufficient time to consult with my
                         attorney prfor to entering this plea of Guilty.

                         I wish to w~ive my right to an attorney and proceed without an attorney in this
                         matter.

             I understand thatl if I enter a plea of guilty I am g~ v~ng up many of these rights. I
       am speci~ically giving pp my right to a jury trial and to confront the witnesses against me.
       I furthe~ understand that the Court can sentence me up to the maximum penalty provided for
       the off~nse{s) with whibh I am charged without hearing witnesses or having a trial if I plead
       guilty.                i
             Knowing and undeI:1standing all of these ri~hts and consequences( I hereby plead guilty
       to the following chargd{s):      Mf/hJ!fut /tP7?e5SIn1 ()r::-@~/l}J(_:..-J....:..;._1iI_ _ __


                                                  of    ~~
                                                       _ _ _ _ _ _ _ _ _f             19~




                                                                           City, state ( Zip



       FINE                                   $                                  PROBATION         $
       CRIME VICTIM FINE                                                         RESTITUTION
       COSTS                                                                     AUTOMATION FUND           3.00
       SURCHARGE                                                                 COUNTY FUND           ,5 ()   ,('":J )
       DRIVER'S EDUCATION                                                        DOCUMENT STORAGE         3.00
       COURT SUPERVISION                                                         JUDICIAL SECURITY       10.00
       SERVICE OF WARRANT                                                        TOTAL

                    (!AIr) (z)       ~t?;tJiS' D. D. L.             L()/lfe21~71l/r
                     li\/1F /1'1     L /PkJ11          Jill C£).·      //lC~
   Case 4:00-cr-40101-SMY Document 542-1 Filed 12/16/09 Page 4 of 6 Page ID #548

                                                       STATE OF ILLINOIS
                                        I
                IN THE CfRCUIT COURT OF THE FIRST JUDICIAL CIRCUIT

                                                           JOHNSON COUNTY

                                M+TTIMUS FOR STATE PENAL INSTITUTIONS
                                        I


    PLEAS before sa~d Circuit Court held in the City of Vienna,                                                        Illinois,
on March 8, 1995.
     Present:        HONO~BLE James R. Williamson, Judge of the Circuit Court
                     Micha~l                  E. Mason, Assistant State's Attorney
                     Rober~                  Harner, Deputy Sheriff

ATTEST: Kenneth yandlell, Circuit Clerk
                                    I
                                    I                                          ,
BE IT REMEMBERED that on said date the following, among other proceedings,
were had and entere~ of record in said Court:

PEOPLE OF THE STATE IOF ILLINOIS)
                                I                           )
             -vs-               I                           )            No. 95-CF-8
                                ,                           )                Class 3
BRAD TAYLOR,       #B-203~7,                )
                                . Defendant.)

                                                    JUDGMENT AND SENTENCE

     Now    come     THE I PEOPLE                     OF     ILLINOIS,             by    Michael     E.    Mason,      Assistant
State's Attorney ofl Johnson County, and the defendant, appearing with Paul
Henry his court appointed counsel,                                       and now the defendant saying nothing
further why the ju1gment of the court should not now be pronounced against
said defendant on fhe plea of guilty heretofore entered to the charge of
UNLAWFUL POSSESSION OF CONTRABAND IN A PENAL INSTITUTION; returned in this
cause on March 8, 1!995.
     Therefore, it lis ordered and adjudged by the court that said defendant
is guilty of the ~rime of UNLAWFUL POSSESSION OF CONTRABAND IN A PENAL
INSTITUTION as cha~ged in the Information.
                            I


     The court fin~s the age of said defendant ,to be 28 years.
     The     court     h,ving                   offered             to    hear          evidence     in    aggravation        and
mitigation     of     th~                   offense     as      to       the       moral    character,         life,     family,
occupation,     and    cf-iminal                    record          of    defendant,         and     the      presentation     of
evidence    having     bren                   heard    by       the      court.           BRAD     TAYLOR r     #B-20387 ,    the
defendant having 10thing further to say, the court hereby sentences said
defendant     to     impfisonment                      in       a    penitentiary            and     fixes      the    term    of
imprisonment at tW0 (2) years to run consecutive with sentence defendant is
currently     serving I in                    the     Illinois           Department         of   Corrections I         and   this
sentence has a onel (1) year term of mandatory supervised release.
                        I
                        I
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     It is further /ordered and adjudged that the defendant be taken from
the bar of this cou~t to the common jail of said county, and from there be
taken by the sherifi of said county to the ILLINOIS DEPARTMENT OF
CORRECTIONS and be delivered to the Department of Corrections,                  and said
Department of Correftions is hereby commanded to confine the defendant for
the term above fix~d, or until discharged by due process of law.                    It is
also further orderef and adjudged that the defendant pay the costs of these
proceedings.              ~
     Dated this   ~ay             of            V1A~,
                                       ---~-~-~-~~------------
                                                                          ,19~.


STATE OF ILLINOIS)        I
                  )~s
COUNTY OF JOHNSON)
     The undersigne~ Clerk of the Circuit Court of the above named Court
does hereby certif~ the above to be a true and complete copy of an order
entered of record im said Court in the case of THE PEOPLE OF THE STATE OF
ILLINOIS versus BRAp TAYLOR, #B-20387.

                                                Signed and sealed before me
                                                      3-9                       , 19 95   •
                                                --------------------~~-------

  (Official Seal Affixed)


To the Sheriff of JrhnSOn

STATE OF ILLINOIS)    i


                  )   i'      s
COUNTY OF JOHNSON) ,
     I certify that the defendant has been held in custody in the County
Jail         days; land I have delivered the person named in the within
mittimus    to    ~he    Illinois    Department   of    Corrections   on
                      I                f   19
                                                Dated ________________ , 19_ _


Costs:
Clerk: . . • . . . '$
Sheriff: . . . . •    1$-----­
State's Attorney .$______                       By:
                                                                  (Sheriff)


                                                                   (Deputy)
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                                    STATE OF ILLINOIS
               IN THE FIRCUIT COURT OF THE FIRST JUDICIAL CIRCUIT
                                      JOHNSON COUNTY
                OFFICfAL STATEMENT OF STATE'S ATTORNEY AND JUDGE
                                             Date: March 8, 1995
NAME: BRAD TAYLOR, ~B-20387                   ALIASES: Unknown
DATE OF BIRTH: 02/1]/67                       PLACE OF BIRTH: Harrisburg, Illinois
COLOR: Black        '                         RACE: African American
CRIME: UNLAWFUL POS~ESSION OF
  CONTRABAND IN A paNAL INSTITUTION           DATE OF CRIME: December 30, 1994
JAIL CREDIT DUE: Norte                        DATE OF ARREST: February 15, 1995
SENTENCE: Two (2) y~ars                       DATE OF SENTENCE: March 8, 1995
COUNTY: Johnson     I                         PLEA: Guilty
TYPE OF TRIAL: Negotiated Plea                STATE'S ATTORNEY: Michael E. Mason,
                                                       Assistant State's Attorney
DEFENSE ATTORNEY: P~ul Henry,                 JUDGE: James R. Williamson
                  P*blicDefender
COMPLAINING   WITNESS~       Lt. Jerry Suits
                         I   Shawnee Correctional Center
                         ,
                         I
                             Vienna, IL   62995
FULL NAME AND ADDREks OF NEAREST KIN: Unknown
LAST KNOWN ADDRESS:/ Unknown
                     ,

LAST KNOWN EMPLOYER/: Unknown
AGENCY CONDUCTING PRE-TRIAL OR PRE-SENTENCE INVESTIGATION: None
                     /
DESCRIPTION OF EXAC/T CIRCUMSTANCES OF OFFENSE:
(See copy of case s/ummary attached)




                                                                 State's Attorney)

I HEREBY    CONCUR   ±N THE      ABOVE   STATEMENT   AS   SET   FORTH   BY   THE   STATE'S
ATTORNEY:




                                                           (Presiding Judge)
